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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO



 UNITED STATES OF AMERICA
      Plaintiff

        v.                                               Criminal No. 06-151 (ADC)

 ANGEL PAMIES (8)
     Defendant


                                          ORDER

       Before the Court is an unopposed Report and Recommendation issued by Magistrate-

Judge Camille L. Vélez-Rivé on August 29, 2006. (Docket No. 180.) In said Report and

Recommendation the Magistrate-Judge recommends that: defendant Angel Pamies be

adjudged guilty of the offenses charged in Count I (18 U.S.C. § 1956) inasmuch as, his plea

of guilty was intelligently, knowingly and voluntarily entered.

       Neither party has filed objections to the Magistrate-Judge’s Report and

Recommendation within the time frame provided by the Federal Rules of Criminal Procedure

and this Court’s Local Rules. See Fed. R. Crim. P. 11; 28 U.S.C. § 636(b)(1)(B); D.P.R. Local

Crim. R. 147(b).

       After reviewing the record, the Court agrees with the arguments, factual and legal

conclusions within the Report and Recommendation. Therefore, the Court hereby

APPROVES and ADOPTS the Magistrate-Judge’s Report and Recommendation in its

entirety.

       Accordingly, a judgment of conviction is to be entered as to Count I of the indictment

in the above-captioned case.
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       This case was referred to the U.S. Probation Office for preparation of a Presentence

Investigation Report on August 29, 2006. The sentencing hearing is set for December 7,

2006 at 10:30 a.m.

       SO ORDERED.

        At San Juan, Puerto Rico, this 15th day of September, 2006.




                                               S/AIDA M. DELGADO-COLON
                                               United States District Judge
